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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS, d.b.a. ACERTHORN                                            PLAINTIFF

VS.                                   Case 3:21-cv-04184-JSW

KARL POLANO, d.b.a. SOFIANNP, ALPHABET INC.,
DISCORD INC., FACEBOOK INC.,                                                DEFENDANTS
FREDERICK ALLISON, d.b.a. INITIATIVEKOOKIE, and
RAUL MATEAS, d.b.a. TGP482,

                       MOTION FOR PRELIMINARY INJUNCTION

        Comes now, pro se Plaintiff David Stebbins, who hereby submits the following motion
for a preliminary injunction to enjoin the individual defendants from submitting any DMCA
Counter-Notifications for the duration of this case, but to instead address all further grievances
against me with the court.

1.     On August 28, 2021, I issued a DMCA Takedown Notice against Polano's twitch channel,
found at twitch.tv/sofiannp. On August 31, 2021, I received notice of his DMCA Counter-
Notification in regards to that takedown. To prevent the infringing stream from being
automatically reinstated, I was forced to file a Motion for Leave to File a Second Amended
Complaint. Once I filed that motion, Twitch agreed not to reinstate the video.

2.     If left to his own devices, it is clear that Polano will continue to post infringing content,
and whenever I issue a takedown against the infringement, he will provide a counter-notification.
This means that, to prevent the content from being reinstated, I will have to either file an entirely
new lawsuit (which will result in extra unnecessary legal costs, as well as piecemeal litigation) or
a new amended complaint (which will stay the resolution of this case). If he keeps doing this
over and over again, we may have to stay the case indefinitely.

3.      To prevent Polano from being able to use this tactic as a means of indefinitely staying off
final judgment in this action, I ask the Court to issue a preliminary injunction ordering him not to
issue any DMCA Counter-Notifications for the duration of this case.

4.      I have a strong likelihood of success on the merits, since one of the individual defendants
(Raul Mateas) has admitted that the infringements are not fair use. The balance of equities tips in
my favor almost exclusively, since the individual defendants are, by their own admission, acting
in egregious bad faith. Finally, this preliminary injunction is in the public interest because it is
necessary to ensure this case does not get delayed with unnecessary amended complaints or that
the issues being litigated are not subject to piecemeal litigation.

5.      The Court can actually rule on this motion much more quickly than it otherwise would be
able to if it were to serve the individual Defendants (Polano and Mateas) with copies of this
motion via electronic means by emailing them (as well as a signed copy of the second propsoed
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order) to their email addresses at sofiannp@hotmail.com and raulmateas20@gmail.com. This is
not unprecedented int his court, and the individual defendants are already following this case of
their own accord anyway.

6.          Please find, attached to this motion, the following documents:

     (a)       A copy of the Second Amended Complaint, as required by Civil Local Rule 65-1(a)
     (1).

     (b)    A memorandum of points and authorities in support of the motion, as required by
     Civil Local Rule 56-1(a)(2),

     (c)       A proposed temporary restraining order, as required byy Civil Local Rule 65-1(a)(3),

     (d)   Exhibit A, a copy of the email notification I received upon submitting my DMCA
     Takedown on August 28, 2021.

     (e)    Exhibit B, a copy of the email notification I received later that same day, notifying
     me that the infringing content had been taken down.

     (f) Exhibit C, a copy of the email notification I received on August 31, 2021 of the
     DMCA Counter-Notification submitted by Polano.

     (g)   Exhibit D, a copy of the counter-notification I received from Polano on May 25,
     2021.

     (h)   Exhibit E, a DMCA Takedown I filed with Youtube on September 14, 2021 against a
     Youtube channel named “Greg.”

     (i)     Exhibit F, a Counter-Notification issued in response to Exhibit E, where the alleged
     infringer identified himself as British citizen Raul Mateas.

     (j)    Exhibit G, an email sent to me by Mateas where he also identifies himself by his
     primary online pseudonym, TGP482.

     (k)     Exhibit H, an email sent to me by Mateas where he admits that Polano's case for fair
     use is extremely poor.

     (l)     Exhibit I, an email sent to me by Polano over private email, where he admitted that
     his goal with all of this is to ruin my career on social media.

     (m)     Exhibit J, a Discord message sent to me by Frederick Allison where he admits that he
     will persist in harassing me, doxxing me, and ruining my social media career.

     (n)     A proposed order, ordering the clerk to die serve the defendants Polano and Mateas
     with a copy of this pending motion electronically, by sending it to their email addresses of
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   sofiannp@hotmail.com and raulmateas20@gmail.com, and ordering them to respond within
   14 days.

7.     Wherefore, premises considered, I respectfully ask the Court to enjoin the individual
defendants in this case from issuing any further DMCA Counter-Notifications against me for the
duration of this case, and instead address all subsequent grievances they may have against me
with the court.

       So requested on this, the 17th day of September, 2021.

                                                                            /s/ David Stebbins
                                                                                David Stebbins
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